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               IN THE UNITED STATES DISTRICT COURT FOR THE
                          DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      )
                                              )       SEALED
               v.                             )
                                              )
KEVIN BRENT BUCHANAN,                         )
                                              )
                Defendant.                    )

                            AFFIDAVIT IN SUPPORT OF
                    CRIMINAL COMPLAINT AND ARREST WARRANT

       I, Michael Biscardi, being duly sworn, affirm and state:

                                       INTRODUCTION

       1.      I am a Special Agent with the Federal Bureau of Investigation (“FBI”) and have

held this position since January 2017. I am currently assigned to a squad that investigates alleged

criminal public corruption violations, civil rights violations, and fraud against the government at

the Washington, D.C. Field Office of the FBI. I have been assigned to investigate the instant

matter, which involves a series of threats against an organization in Washington, D.C. that

advocates for Palestinian rights (“Organization 1”) that were left on Organization 1’s voicemail.

       2.      This affidavit is submitted for the purpose of establishing probable cause. The facts

in this affidavit are based on my investigation, personal observations, training, and experience, as

well as information conveyed to me by other law enforcement officials. Because this affidavit is

limited in purpose, it is not intended to include each and every fact and matter observed by me or

known to the United States.




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                                  PURPOSE OF AFFIDAVIT

       3.      This affidavit is submitted in support of a criminal complaint charging the

defendant, KEVIN BRENT BUCHANAN (hereinafter “BUCHANAN”), with Interstate

Transmittal of Threats, in violation of Title 18, United States Code, Section 875(c). This affidavit

is also submitted in support of an arrest warrant for BUCHANAN.

                                   STATEMENT OF FACTS

                                     The Interstate Threats

       4.      On or about October 31, 2023, at approximately 3:48pm, an unknown caller with

the phone number and caller identification number (         )     -7475 (“phone number x7475”)

dialed the main phone line of Organization 1, which is an advocacy organization group focused on

Palestinian rights located in Washington, D.C. When nobody answered the call, the caller was

routed to a voicemail box. The unknown caller left a message on Organization 1’s voicemail inbox

stating “Don't think we're not watching you. We know who you are, who your families are. I'm

glad you're sticking your ugly heads up Palestine. Well, you know what, you're being cataloged.

You're being photographed. We're gonna know who your families are. We're gonna know where

you live. You're gonna be tracked. You're fucking D.M.W – that means dead man or woman

walking. You are the enemy. You are a threat to the national security of the United States, and you

are fucking going to get what's coming to you very, very, very soon, you pieces of Palestinian

shit… Come to middle America and try to do what you're doing. You pieces of sacks of shit. Dead

person walking. That's all you are, pieces of shit. You're gonna die."

       5.      On November 1, 2023, Organization 1 received two additional voicemail messages

from phone number x7475. Both of these messages contained similar content to the voicemail

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message that had been received from the same phone number on October 31. For instance, in one

of the messages the caller stated, “you are a small fucking minority, and you are dead. You are

fucking stinking rotten pieces of shit. I can hardly wait until the balloon goes up. . . . This is a war

against Islam. We are going to wipe them the fuck out. . . . I’m glad you’re showing your face

because we’re documenting you, your families, and everything. . . . You’re not Americans. You’re

traitors. And you’re going to fucking die. You are going to fucking die. You shit heads. . . .

Palestinians are going to die. By the hundreds of thousands. . . . You’re just all kinds of fucked up

and stupid, and that’s why you’re going to die.”

        6.      In the other November 1, 2023, message, the caller stated, “Guess what

motherfuckers? You stinking piece of shit terrorists. You are a threat to the national security of

the United States. Well guess what? The Hells Angels have silently declared war on you. So you

just go ahead and parade around, do what you want, but you’re marked. You’re dead people

walking. You’re all gonna fucking die because you’re enemies of the United States. . . . You are

fucking traitors and you’re gonna die. And I’m gonna love it. So are your families, motherfucker

pigs.” Based on this investigation I know that Organization 1 had planned a public demonstration

in Washington, D.C. on November 4, 2023 to advocate for Palestinian rights.

        7.      On November 2, 2023, Organization 1 received two more voicemails from phone

number x7475. In one of the messages, the caller stated, “You know, people are following you.

They’re watching your families. I hope your families get raped. I hope your wives and children

get raped and beheaded. I really do. . . . Keep in mind. You’re a minority in America. . . . I’m

gonna fucking burn the goddamn Koran. What are you going to fucking do to stop me? You call

me back you brave defenders of Palestine. Those chicken shits [indecipherable] in Iraq killed

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plenty of them . . . You guys are going to die. You guys are going to die violently. You guys are

enemies of the United States. . . .”

       8.      In the other November 2, 2023 message, the caller stated, “You lying sack of shit.

You’re afraid to answer the phone because you’ve been overwhelmed by death threats. This isn’t

a death threat. Everybody’s gonna die. And you motherfuckers are gonna die. You pieces of shit.

Israel’s god’s chosen people. Islam is [indecipherable]. . . You know what? I hope every Muslim

in the United States fucking croaks. I hope there’s a battle between Christianity and Islam because

Christian—and Judaism—. . . because Jews and Christians will kick their ass. I fought in Iraq. I

fucking happen to know a punk ass chicken shit when I see one. So you either call me back and

arrange a meeting ‘cause you’re fucking full of shit man. You’re the enemy. You’re the enemies

of this country. You’re a threat to me and my family. But you know what? Your families are

going to be followed and watched. Every time you have a meeting we are going to infiltrate your

organization. . . know who your families are, your mothers, your fathers, your sisters, brothers,

and so forth and so forth. I would be deathly afraid if I were you. You are all going to fucking

die you pieces of shit. Traitors. You don’t even belong in America. . .”

       9.      Based on my review of the recorded voicemail messages described above, the caller

in each instance sounds like a male voice, and it sounds like the same person left all five of the

messages.

                                Identification of Kevin Buchanan

       10.     On October 31, 2023, a staff member of Organization 1 checked the first voicemail

described above and listened to the message. The staff member reported the message to co-

workers. Members of Organization 1 then contacted another advocacy group that is focused on

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anti-discrimination of American-Arabs (herein referred to “Organization 2”). Organization 2

contacted the U.S. Department of Justice to request assistance from the FBI on investigating the

threating statements made to Organization 1. The FBI received the request for assistance on the

morning of November 1, 2023.

        11.     On November 1, 2023, using tools available to law enforcement and authorized by

law, the FBI requested and received emergency situation disclosure information regarding phone

number x7475 from Verizon, the carrier of the phone number, due to the exigent nature of the case

and the potential threat to life. Verizon provided information that the provider of the phone number

was TracPhone Wireless, a non-contract phone mobile phone provider, provided 48 hours of GPS

“ping” data for the mobile phone using phone number x7475, and provided historical records.

        12.     The GPS “ping” data that Verizon provided to the FBI has identified the phone to

be in the area of Tooele, Utah. Based upon information known to law enforcement, BUCHANAN

is believed to live in that city.

        13.     On November 1, 2023, using tools available to law enforcement and authorized by

law, the FBI requested emergency situation disclosure information regarding phone number x7475

from TracPhone Wireless, the mobile phone provider, due to the exigent nature of the case and the

potential threat to life. TracPhone provided information on the phone identification numbers,

known as the International Mobile Equipment Identity (herein referred to as “IMEI”) and

International Mobile Subscriber Identity (herein referred to as “IMSI”), and where the phone was

purchased. Information revealed that the TracPhone was purchased at Walmart retail store located

in Tooele, Utah.



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